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   United States of America
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 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                                     EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                            CASE NO. 2:15-CR-00235 TLN
12                                 Plaintiff,             STIPULATION TO CONTINUE JUDGMENT AND
                                                          SENTENCING HEARING; ORDER REQUIRING
13                           v.                           APPEARANCE OF DEFENDANTS
14   MARCELLE BANAGA,
15                                 Defendants.
16

17                                                STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, and defendant Marcelle

19 Banaga, by and through defendant’s counsel of record, hereby stipulate as follows:

20          1.       By previous order, the judgment and sentencing hearings for Banaga was set for July 26,

21 2018.

22          2.       By this stipulation, the parties jointly request that the judgment and sentencing hearing

23 for Banaga be continued to November 8, 2018 at 9:30 a.m., and that the dates for preparation of the

24 presentence investigation report, informal and formal objections, and the sentencing memoranda be reset

25 based on the sentencing date of August 23, 2018. The continuance is necessary given travel restrictions

26 that remain in place for Banaga to leave Romania.

27          3.       Additionally, Banaga expressly agrees that he will appear before the Court on the date of

28 November 8, 2018, and acknowledges that his failure to appear on that date may result in his immediate

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 1 incarceration, that the United States may file additional charges for his failure to appear, which could

 2 result in a sentence of up to 10 years imprisonment in addition to the sentence imposed in this case, and

 3 that any failure to appear may jeopardize any motion for downward departure under U.S.S.G. § 5K1.1

 4 that the United States might file based on any substantial assistance provided to the prosecution to date.

 5          4.       Counsel for the defense agrees that he will have this stipulation and proposed order read

 6 or translated to his client in his own language, and will provide a copy of the Court’s order to his client

 7 and directly inform him upon entry of the Court’s order.

 8          IT IS SO STIPULATED AND REQUESTED.

 9
     Dated: July 23, 2018                                     McGREGOR W. SCOTT
10                                                            United States Attorney
11                                                            /s/ Todd A. Pickles
                                                              TODD A. PICKLES
12                                                            MICHAEL M. BECKWITH
                                                              Assistant United States Attorneys
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15   Dated: July 23, 2018                                     /s/ Alin Cintean (as authorized
                                                              on 7/23/2018)
16                                                            ALIN CINTEAN
17                                                            Counsel for Defendant
                                                              MARCELLE BANAGA
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      STIPULATION TO CONTINUE JUDGMENT AND                2
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 1                                                  ORDER

 2         This matter came before the Court on the parties’ stipulation to request a continuance of the

 3 judgment and sentencing hearing for defendant Marcelle Banaga. For the reasons stated above, and

 4 good cause showing, the Court GRANTS the parties’ request and CONTINUES the judgment and

 5 sentencing hearing to November 8, 2018 at 9:30 a.m. The dates for the preparation of the presentence

 6 investigation report, informal and formal objections, and sentencing memoranda are RESET based on

 7 the sentencing date of November 8, 2018.

 8         IT IS FURTHER ORDERED THAT defendant Banaga shall personally appear on November 8,

 9 2018 at 9:30 a.m. in this Court.

10         IT IS SO FOUND AND ORDERED this 23rd day of July, 2018.

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                                                                 Troy L. Nunley
15                                                               United States District Judge
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      STIPULATION TO CONTINUE JUDGMENT AND              3
      SENTENCING; ORDER
